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IN THE UNITED STATES DISTRICT COURT FOR a ~

NORTHERN DISTRICT OF ILLINOIS F | L E

Abdullah Musa Khadijah's DEC
29 2014
Plaintiff
AS G. 7
Vs Case No: 14 CLE U usp DIS TRIG ON
14 & 384  COurRT

S. A. Godinez, Director of Illinois Department of Corrections
Brad Curry, Director of Parole Officers
Alan Scott Hahn, Supervisor of Parole Officers Judge Gary Feinerman
L. Muhammad, Parole Officer

4 Unknown Parole Officers ; 4,220, 900,00
Warden of Stateville Correction Center
Warden Nedra Chandler, Dixon Correction Center
Chief Warrant Officer
Dorothy Brown, Clerk of Cook County Circuit Court
Mr. Freeman, Pacific Garden Mission

AMENDED COMPLAINT
Plaintiff, Abdullah Musa Khadijah, alleges as follows:
Introduction

This is a complaint for damages for violation of civil rights under 42 U.S.C.A. 1983 and under the fourth and 14th
amendments to the United States Constitution; Malicious Prosecution under 42 U.S.C.A. under 42 U.S.C.A. 1983; Money-
related claims under 42 U.S.C.A. 1983 and false imprisonment; intentional infliction of emotional distress, violation of
state city rights and malicious prosecution under supplemental jurisdiction, 28 U.S.C.A. 1367 (a).

Plaintiff alleges that his parole violation, revocation was fabricated and improperly revoked knowingly and willfully by
the prisoner review board and that the decision of the prisoner review board was knowing based upon a fraudulent
parole violation report, submitted by parole officer supervisor who wasn't a witness.

Plaintiff alleges that his parole was revoked due to a fable by Mr. Freemen who initiated the allegation for the grounds
that there was some kind of romance going on between plaintiff and his parole Officer L. Muhammad, or that plaintiff
was harassing her with his meeting and conversations.

Plaintiff asset that Alan Scott Hahn drafted the false criminal charges and the parole violations and also the parole
violation of conditions. The falsified and fabricated parole violation was hidden and disguised behind the false criminal
charges.

Plaintiff was wrongfully arrested, charges and reimprisoned for another 18 months for the alleged parole violation on
the criminal offenses, plaintiff did not commit. There is no record of plaintiff being charge with other, only in IDOC files
but not in the states attorney's nor the clerk's office (see exhibits).

This is a civil action seeking monetary damages for the tortions conduct of defendants knowingly that caused plaintiff's
wrongful reimprisonment. The defendant, all of them, conspired under the auspice of two defendants Alan Scott Hahn,
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"and Mr. Freeman ina personal animosity, vindictive motive simply because Mr. Freeman made another believe that

there was a romance affair between plaintiff and parole officer L. Muhammad.
This defendant deprived plaintiff due process, deprivation of liberty and property and liberty interest under color of law.
1. Plaintiff

A. Abdullah Musa Khadijah
B. No aliases, former name from change Rufus Lee Jackson, Jr. 1975, 1801 S. Wabash, Chicago, Illinois 60616. Plaintiff
was homeless since his release from Dixen Correction Center. New address.

i. Defendants:
1. S.A. Godinez, Director of Illinois Department of Correction IDOL Springfield, Illinois;
2. Brad Curry, Director of Illinois Department of Correction Parole Officers IDOC Springfield, Illinois
3. Alan Scott Hahn, Parole Officer for Cook County Chicago, Illinois

4. L. Muhammad, Parole Officer for Cook County Chicago, Illinois

5. 4 unknown Parole Officers for Cook County Chicago, lilinois

6. Warden of Statesville Correctional Center Joliet, Iilinois4

7. Nedra Chandler, Warden of Dixon Correction Center Dixon, Illinois

8. Chief Warrant Officer unknown Cook County Jail Chicago, Illinois

9. Dorothy Brown, Clerk of the Circuit Court Cook County, Illinois
10. Mr. Freedman, employee of Pacific Garden Mission, Chicago, Illinois

ill. List All Lawsuits

A. Names of cases and docket number
Abdullah Musa Khadijah, plaintiff v State of Illinois #14CV6389 Judge Feinerman

B. Approx. date of filing lawsuit: August 19, 2014
C. No other Plaintiffs

D. S.A. Godinez, Director of Illinois Department of Corrections
Brad Curry, Director of Parole Officers

Alan Scott Hahn, Supervisor of Parole Officers

L. Muhammad, Parole Officer #141

4 Unknown Parole Officers

Warden of Statesville Correctional Center

Nedra Chandler, Warden of Dixon Correction Center

Chief Warrant Officer, Unknown

Dorothy Brown, Clerk of the Circuit Court Cook County

Mr. Freeman, Pacific Garden Mission

E. Court in which the lawsuit was filed, federal court United States District Court, Northern District of Illinois, Eastern
Division, Chicago, Illinois.

F. Name of Judge to whom case was assigned: Judge Feinerman
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G. Basic claim made: Wrongfully arrested and reimprisionment for 18 months for fabricated falsified parole violation.
legal reimprisonment due to assumed romance between plaintiff and has parole officer.

H. Disposition of this case, plaintiff has to amend the case.

|. Approx. date of disposition dead line: December 29, 2014

Plaintiff states that the real facts, the parole violation stemmed from allegation of two of the defendants, Alan Scott
Hahn and Mr. Freeman. it comes from a personal protective, retaliation, animosity, jealous, vindictive motive,
resentment revengeful act against plaintiff due to Mr. Freeman assumed that there was either a romance flung going on
due to plaintiff visits and conversations with defendant L. Muhammad, and that plaintiff was harassment or harassing of
the parole officers L. Muhammad. Neither was going on.

FIRST CAUSE OF ACTION

Malicious parole violation hearing, fabrication of parole violation report leading to false reimprisonment, arrest, lost of
liberty by defendants.

FACTS

On or about March 1, 2012 at Pacific Garden Mission, the defendants, L. Muhammad and four unknown parole officer
apprehension gang acting under floor of authority along with Alan Scott Hahn, Supervisor of parole officers, and a non-
employee of IDOC were the moving force behind the fabricated parole violation, and with criminal offense charges that
was instituted against the plaintiff.

Plaintiff states he was charged with molesting his (MSR) Mandatory Supervised Released agreement. Plaintiff wondered
how? When he hadn't acquired any new criminal offenses, nor parole violations of conditions.

A criminal offense, parole violation can't be filed on a new charge until there's a court proceedings to rule on the
criminal offense charged.

Plaintiff asked the question of many state officers, where plaintiff could not get an answer. (see exhibit). What is the
procedures parole officer take when they personal charges against a parolee? Do they arrest the parolee, and take him
to the nearest police station for booking for the criminal offense charges, against their person or do they transport the
parolee back to Statesville Correctional Center.

Plaintiff's understanding is that the difference, between the two types of violations is a violation of conditions of parole
agreements, and the violation of parole in a new criminal charge.

In this case plaintiff as charged with three new criminal offense charges. There is no record of such charges filed with
the states attorney's office or clerk's office (see exhibit).

Plaintiff was charged with assault, disorderly conduct, and indecent exposure. Record does not show these charges, but
plaintiff as arrested on such charges. Plaintiff did not know of the charges until 8 days confined in Statesville
Correctional Center on March 8, 2012.
 

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’ The second part, is how could a criminal offense be consolidated subterfuge into an administrative violation of parole
condition, without a judicial hearing from a judge? Maybe plaintiff is misunderstanding the different procedures used in
the concept of criminal charges, judicial and ministerial hearing administrative.

A criminal charge cannot be until there is a court proceedings to rule a parole violation. Plaintiff was arrest under false
pretense of criminal charges and these charges was hidden under a parole violation.

Plaintiff alleges, that the criminal offense charges was to violate to the plaintiff to arrest him, and reimprison him. This
the violation was instituted to cover the false charges. (see exhibit parole violation report, and the two add on, sheet on
March 15, 2012 at the parole board hearing).

Plaintiff states that it's not in record form plaintiff asserts the parole violation report was very vague, indefinite,
uncertain, ambiguous, erroneous, mislabel a fraud, forgery in meaning. Confusing sage of violation criminal statute in
one part and in another stipulating a violating condition.

Plaintiff is seeking clarification on the procedures taken by the parole officers and agencies offices and what the law
says, on the way the parole officers charges a parole with a criminal offense. Through the technique used by AlarrScott
Hahn and others have used an unwritten unofficial misconduct custom policy of Illinois Department of Correction on
making up violations and other illegal procedures, as they see fit. Also under Illinois Department of Correction 20 Illinois
administration code CH:1d20 Rules of Conduct, official and employees thus Act Section 120, 30,40,50, 70, 80, 90 and
100.

Plaintiff states that Illinois and not-state employees each of the defendants was aware of the acts of the other
defendants in support of the illegal acts of the enterprise and each defendants is culpable of the acts.

DEFENDANT MR. FREEMAN

On or about March 1, 2012, defendant Mr. Freeman, non-employee of IDOC who is employed by Pacific Garden Mission,
aided and initiated the illegal arrest, reimprisonment by IDOC parole officers, by giving false information to parole officer
supervisor, Alan Scott Hahn.

On March 1, 2012 at Pacific Garden Mission, Mr. Freeman gave parole officer Alan Scott Hahn, the impression, that
there was either a romance affair between plaintiff and parole officer L. Muhammad, or that plaintiff was harassing the
parole officer b his visiting and talking to his parole officer on a regular bases. Plaintiff has a right, because that what
she was paid to do and assist parolees.

Plaintiff stated to Mr. Freeman that plaintiff was to Pacific Garden Mission to housing due to him being parole there and
not by choice and that PGM has nothing to do with IDOC.

Plaintiff assert that Mr. Freeman stated that the plaintiff had no reason to be waiting to see and talk to her in the office.
Plaintiff a loud voice one time, to Mr. Freeman to stay out of my business and that | can take care of my business when it
want.

Plaintiff stated to Mr. Freeman that he should be focus on the 500 homeless people he has at Pacific Garden Mission
and stop being concern about my affairs.

Plaintiff found out February 18, 2012, that Mr. Freeman was asking around to the other female parole officers if the
plaintiff harassing the other female parole officers. Plaintiff did not know Mr. Freeman had been asking questions about
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~ his talking to his parole officer. Mr. Freeman had some animosity and aggression toward plaintiff visiting his parole
officer, it was business. Besides the business the parole officer, plaintiff and L. Muhammad talked cordially.

Plaintiff had written several grievances on Mr. Freeman to his supervisors on his conduct and actions, speaking up for
the homeless of Pacific Garden Mission. On January 26, 2012 or about, plaintiff and Freeman has an exchange of words
about plaintiff property came up missing from the storeroom. Plaintiff wrote a grievance on the matter. Mr. Freeman
told the security officers to escort plaintiff out of the mission. It was very cold that day and plaintiff had to take all of his
personal thing with him.

DEFENDANT L. MUHAMMAD

Three days later after plaintiff returned, he reported to L. Muhammad his parole officer. She stated that she was going
to talk to Mr. Freeman. She must have because he had a vindictive attitude towards the plaintiff. Plaintiff alleges that
many different people had been following plaintiff sense he was released from Dixon Correctional Center, stayed at
Pacific Garden Mission. These people have and had been following plaintiff sense July 6, 2012.

Plaintiff alleges that on March 1, 2012 that defendant L. Muhammad, parole officer, participated in the conspiracy and
actually help, aided, set-up plaintiff in the arrest in her office.

Plaintiff and his parole officers L. Muhammad, was in her office talking and having a discussion on him getting off parole
and moving out of Pacific Garden Mission and getting another parole officers on the south side.

On March 1, 2012, plaintiff as explaining to parole officers Mahammad that he wasn't getting along with Mr. Freeman.
This day plaintiff and his parole officer was having a cordial conversation (see exhibit) plaintiff saw his parole officer
stated talking on the cell phone.

On March 1, 2012 plaintiff saw that his parole officer was busy having a conversation on her phone, plaintiff told parole
officer that he was leaving.

Defendant Muhammad, stated you don't have to leave, its ok, we could finish talking. Plaintiff sat back down in the
chair while talking and drafting up his proposal for this support company.

Plaintiff notice on March 1, 2012 about 1:30 pm this whole scenario that nothing appeared to wrong. Plaintiff saw that
defendant out in the hallway to talking. Plaintiff thought nothing wrong, she just wanted to take private.

Defendant L. Muhammad came back in her office and we resumed talking about the issues she had brought up (see
exhibits). Plaintiff stated that he should leave because she was busy, maybe talking to other parolee and that he didn't
want to be in the way.

Plaintiff states that on March 1, 2012 defendant L. Muhammad insisted that | sit back down and continue talking about
her property and other problems she was having. Plaintiff knows she has two children like he do.

Plaintiff and his parole officer spoke on the two religion directors. Plaintiff explained the difference between the two
and that he follow W. D. Muhammad.

On March 1, 2012, while sitting in the office of his parole officer L. Muhammad Plaintiff was having dialog discussion on
different subject with his parole officer while he was writing a proposal, sitting in front of her desk.
 

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~ On March 1, 2012 approx. between 1:30 pm plaintiff notice that defendant got up again from her desk, while taking on
her cell phone to someone. She stopped once again talking to someone of on the other end.

Plaintiff never look up, he was concentrating on the puppet company proposal defendant, L. Muhammad, came back
into her office after talking she seem to be not concern about anything, she still had a smile, plaintiff saw no discomfort,
she didn't seem threaten.

On March 1, 2012 while in Pacific Garden Mission, on the office of plaintiff's parole officer, plaintiff since approx. 2:00
pm until 4:00 pm he had tried at three times to leave the office of his parole officer. Defendant, stated to plaintiff that
could stay and finish our conversation (see exhibit).

On March 1, 2012, in the office of parole officer defendant L. Muhammad, after she convince plaintiff to stay and talk
with until she went home. Plaintiff never knew that they have a time limit and that she never told plaintiff that we
parolees can't spend a lot of time in her office.

Plaintiff sat back down, with his legs cross, to lift up his clip board he that he was writing on. Plaintiff was writing sitting
in her office, we were talking, she would talk on the cell-phone, and | was busy constructing the proposal when 4 more
officers came to her office door.

On March 12, 2012, the men dress all in black, tried the door and tried to get in and couldn't. Plaintiff jump up and
started for the door to open it for them. Plaintiff was about 3 feet from the door. Defendant L. Muhammad said, don't
open it, they will open it. Plaintiff stated I'm right here, | can open it, | don't mind. She again said no, let them open it.
They will get it open.

Plaintiff looked at her, and returned to the chair, he was sitting in for at least 3 hours, and sat back down pick up his
claim work and finish writing the proposal, crossed his legs once again. She was looking at them.

The four defendants, parole officers, who was at the door finally open the door they didn't have the keys. Plaintiff
thought defendant Muhammad was going to open the door from the inside, she didn't. She knew the guys.

On March 1, 2012, plaintiff, states the four men dress in all black, plaintiff thought they were gang-bangers, in the way
of their behavior and actions and the way they there were dress.

These defendants all four of them came in the office like storm troopers, came straight over to plaintiff and told him to
put his pen and paper writing board down. Plaintiff asked what seems to be the problem.

Defendants, unknown parole officers who barged into the office they told me to stand-up. Plaintiff stoop up and again
asked what the problem? They told me to put my hand behind my back plaintiff did such. They handcuff plaintiff.

On March 1, 2012, plaintiff asked these men why they were putting handcuffs on me. One of the guys told plaintiff to
shut-up; they looked the plaintiff up and down and even searched his person.

At this time everybody the homeless persons was looking at the incident from the windows, inside the dayroom.
On March 1, 2012, approx.. 4:00 pm and 4:30 pm, plaintiff asked again what seems to be the problem? Plaintiff looked

over at this parole officer, she said nothing. Really plaintiff thought he had an allegation against from the outside the
mission.
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" Plaintiff never thought the arrest came from his parole officer, L. Muhammad, because he knew that he didn't cause an

infraction towards her or Pacific Garden Mission. Plaintiff was puzzled. Plaintiff saw defendant L. Muhammad over by
the door whispering to one of the other parole officers.

On March 1, 2012, approx. 4:30 pm plaintiff was let out to their car and plaintiff was told to give all his personal
belongings money, cell-phone. Plaintiff was led out their car and take to their office on Roosevelt Road.

On March 1, 2012 approx. 5:30 pm plaintiff was held there for at least 4 hours when one of the arresting parole officers
came and kicked plaintiff leg and told him to get up. They gave plaintiff a drug drop. Plaintiff stated that he don't use
drugs or drink.

Plaintiff stated where are we going now? The officer stated to Statesville. Plaintiff asked why are we going to
Statesville? Defendant didn't answer. Plaintiff asked what was he being arrested for, that defendant said don't worry
about it. Plaintiff stated, | must worry about it because you guys kidnaped me off of the streets, and all my property is
still at Pacific Garden Mission.

Plaintiff asserts that if defendant L. Muhammad, thought that the plaintiff was acting out of conduct, she could have
secretly call the police, and she could have the plaintiff 2 blocks away to be nearest police station or 18th and State St.
She could have secretly call the security who was in the next office, where there are lots of windows, everybody could
see into her off ice. She could have arrested plaintiff and placed handcuffs on herself. She had her weapon, even her
voice, to place plaintiff under arrest. The same way she secretly called those 4 parole officers who do the apprehension
green squad.

Any of those things she could have done without my throwing, if plaintiff was a threat to her person. Defendant
Muhammad knew or should have known that she was the key part of the conspiracy.

PAROLE OFFICERS

On March 1, 2012, plaintiff states that parole officers working under the auspice of parole officer supervisor, Alan Scott
Hahn. Their actions and omissions were carried out as deliberate, willfully, intentional and malicious manner with the
specific intent to injure and deny plaintiff liberty.

On March 1, 2012 at Pacific Garden Mission in the office of parole officer L. Muhammad, plaintiff states that neither of
those defendants had, held displayed a warrant for plaintiff's arrest. The way these guys barged into the office, dressed
in all black, | thought they were gangbangers. They displayed no badge, ID or announced who they were.

On March 1, 2012, at Pacific Garden Mission, none of these officers, defendants, have moving papers. Plaintiff still was
wondering what he was being arrested for. Plaintiff knew he didn't have any new charges, not parole violation of his
conditions.

On March 1, 2012 at or approx. 6:00 pm one of these apprehension officers drove plaintiff all the way to Statesville
Correctional Center in a hurry. The officers was driving at least 70-80 miles per hour, pretty fast.

When the officer and plaintiff did reach Statesville Correctional Center, he had not paperwork. He talk to the officer at
the back gate and the officer let us into Statesville. Plaintiff state | thought we were going to the county jail? Since he
had a parole violation. That’s where you guys take all the other parole violators, or to 18th police station, why
Statesville Correctional Center? Plaintiff got not answer. You guys just follow order?
 

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Plaintiff states that these defendants knew or should have known the actions that they were taking all of them aided
and assisted conspired to the fabricated parole violation.

DEFENDANT ALAN SCOTT HAHN

On March 6, 2012 defendant Alan Scott Hahn is names the perpetrator, master mind behind, architect in the official
misconduct and the one with the perverted mind, who conceived and added the sexual conduct allegation to make it fit
into the violation.

Plaintiff asserts that it was parole officer supervisor, Alan Scott Hahn, who ordered his subordinates to arrest plaintiff on
criminal charges, assault, disorderly conduct and indecent exposure, for the violation arrest.

Plaintiff assert that after Alan Scott Hahn, could not get the sexual charges to weigh in a court of law, he reverted to a
parole violation hidden behind the criminal charges.

Plaintiff alleges that the defendant used unwritten official conduct used the violation of parole as a personal retaliation
masquerading as a violation of plaintiff's parole agreement.

It as defendant, Alan Scott Hahn, who fabricated the parole violation by wrong the parole violation report. Defendant
wasn't at Pacific Garden Mission at the time of the incident on March 1, 2012.

Plaintiff's parole officer, L. Muhammad, did not write the violation, it was defendant who drafted the report. On the
violation report where the signature are the signatures show Alan Scott Hahn signed March 6, 2012. Plaintiff received
the report to be signed in Statesville 8 days after reincarsaration. Plaintiff signed March 8, 2012 plaintiff's parole
officer, L. Muhammad, maybe she signed March 12, 2012.

Plaintiff asserts that when a violation is written by the parole officer, signs it first. Then the parole offers give it to his or
her supervisor, who then signs it, and last one to sign the violation, is the parolee. At least | thought that was the proper
protocol.

Plaintiff states that if his parole officer had written the report he believes she would have signed it first. Plaintiff saw a
signed complaint form. It was Alan Scott Hahn who wrote the inflaming words on the report.

Plaintiff states that the legal papers pertaining to his complain 3 times since plaintiff was release from Dixon
Correctional Center July 5, 2013 was stolen by people on the streets, homeless, buns.

Plaintiff alleges that defendant, Alan Scott Hahn, who stated the inception of the violation and initiated the conspiracy,
where also, put Alan Scott Hahn in the fore front due to his protective attitude towards defendant, L. Muhammad and
his animosity, jealousy, vindictive motive. He also conjured the thought that there was something going on. (exhibit A)
Would the falsehood, to plaintiff complaint, which was stolen.

Plaintiff alleges that it was Alan Scott Hahn, who defendant acts, and omissions including, but not limited to, by
knowingly, willing, intentionally, planned, conspired, recklessly made-up providing materially false, misleading and

incomplete information, and or omitting material information.

Defendants, acted with malice, with reckless disregard for the rights of plaintiff without reasonable or probable cause in
their actions and omissions as the moving force in the fabricated parole violation.

Plaintiff states and asserts let the record, and exhibit show that facts.
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’ Alan Scott Hahn, defendant, engaged on the malicious conduct which the records will and would show, they
intentionally on purpose of depriving plaintiff of his constitutional rights to be free of criminal seizure and the right to
due process under the fourth and 14th amendments to the United States and the State of Illinois.

DOROTHY BROWN

Plaintiff mailed from Dixon Correctional Center a petition of writ of mandamus for a rehearing of his blotch parole board
hearing, both hearings, at Statesville and at Dixon, on the procedures of (see exhibits C, D) September 19, 2012.

Plaintiff gave instructions that enclosed was enough copies for the court and her office, and any other office who should
have a copy. Plaintiff requested that she send plaintiff back 2 stamped copies of my record and copies of all the originals
documents as exhibits. (C & D) April 11, 2013.

Ms. Brown's office sent a copy of plaintiff old appeal case. Plaintiff was requesting a copy from the court on his
mandamus review, not the case appeal.

Plaintiff alleged even to this day, her office has forward a copy of his filed mandamus for this Honorable court to rule on.
Due to this intentional hold up plaintiff still does not know how the court ruled on the mandamus, to see if the court
told IDOL to grant plaintiff another parole board hearing.

Plaintiff alleges that it appears that her office has not or refusing to send a stamped copy and the court summary of the
mandamus. If the document was filed.

Plaintiff reasserts that her office interference in denying plaintiff access to the court and denial due process.
DEFENDANT UNKNOW CHIEF WARRANT OFFICER

The chief warrant officer should see a copy of the affidavit, and signed complaint from the parole officer or the
complainant, showing violations of condition of parole. If there is a new criminal offense charges.

Plaintiff alleges that he never saw 2 police reports nor warrants on the charges against.

Plaintiff never saw any complaint signed by parole officer L. Muhammad, who allegedly the complaint is from. The chief
warrant officer has authority for issue a warrant of arrest for paroles.

Plaintiff alleges a warrant would have to been issues March 1, 2012, to be serve on plaintiff, it was never done. Plaintiff
issue is how could he be arrested and reincarnated, transported to Statesville without moving papers.

The unknown chief warrant officer is a good friend of Alan Scott Hahn and insured they can misuse paper work. Plaintiff
asked for a copy of these moving papers. Plaintiff wondered did Alan Scoot Hahn, parole officers had an issued warrant
for the plaintiff.

Plaintiff alleges it the complaint was signed by parole officer, L. Muhammad, or that parole officer parole officer Alan
Scott Hahn used hearsay. This officer has and did aided in the conspiracy, falsifying a fabricated parole violation report,
and not having a legal arrest warrant.

 
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BACKGROUND

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